                 Case 2:15-cr-00015-TLN Document 145 Filed 05/18/17 Page 1 of 3


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 5 Attorney for Defendant
   JULIUS CAUBAT
 6
                                  IN THE UNITED STATES DISTRICT COURT
 7
                                     EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                            2:15-CR-00015 GEB
10                                 Plaintiff,             STIPULATION AND [PROPOSED] ORDER
                                                          CONTINUING STATUS CONFERENCE, AND
11                           v.                           EXCLUDING TIME UNDER THE SPEEDY
                                                          TRIAL ACT
12 JULIUS CAUBAT,

13                                 Defendant.
14

15          Plaintiff United States of America, by and through its counsel of record, and defendant Julius

16 Caubat, by and through his counsel of record, hereby stipulate as follows:

17          1.       By previous orders, this matter was set for status conference on May 19, 2017.

18          2.       By this stipulation, defendant Julius Caubat seeks to continue the matter for a change of

19 plea and to exclude time between May 19, 2017 and June 30, 2017 at 9:00 a.m. under Local Code T4.

20          3.       The parties agree and stipulate, and request that the Court find the following:

21                   a)     The discovery in this case includes 130 pages of investigative reports and related

22          documents jointly provided to all defense counsel. The government provided individual defense

23          counsel with data and reports from the alleged cell phones of their respective clients, consisting

24          of thousands of pages. The disclosure of this material to all defense counsel has not resulted in a

25          joint stipulation for disclosure, but the parties are continuing to communicate to reach an

26          agreement for disclosure, as well as having discussions concerning the resolution of this case.

27                   b)     Counsel for the defendant needs time to consult with her client as well as

28          finalizing the discussions as to the resolution of this case.

      STIPULATION AND [PROPOSED] ORDER CONTINUING
                                                           1
30    STATUS CONFERENCE, AND EXCLUDING TIME…
                 Case 2:15-cr-00015-TLN Document 145 Filed 05/18/17 Page 2 of 3


 1                   c)     Counsel for defendant, Julius Caubat, believes that failure to grant the above-

 2          requested continuance would deny her the reasonable time necessary for effective preparation,

 3          taking into account the exercise of due diligence.

 4                   d)     The government does not object to the continuance.

 5                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of May 19, 2017 to June 30, 2017

10          inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4]

11          because it results from a continuance granted by the Court at defendant’s request on the basis of

12          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

13          of the public and the defendant in a speedy trial.

14          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

16 must commence.

17          IT IS SO STIPULATED.
                                                               PHILLIP A. TALBERT
18 Dated: May 16, 2017                                         United States Attorney
19                                                             /s/ PAUL A. HEMESATH
                                                               PAUL A. HEMESATH
20                                                             Assistant United States Attorney
21
     Dated: May 16, 2017                                       /s/ TASHA PARIS CHALFANT
22                                                             TASHA PARIS CHALFANT
23                                                             Counsel for Defendant
                                                               JULIUS CAUBAT,
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      STIPULATION AND [PROPOSED] ORDER CONTINUING
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30    STATUS CONFERENCE, AND EXCLUDING TIME…
              Case 2:15-cr-00015-TLN Document 145 Filed 05/18/17 Page 3 of 3


 1                                           FINDINGS AND ORDER

 2          The Court, having considered the stipulation of the parties, and good cause appearing therefrom,

 3 adopts the stipulation of the parties in its entirety as its order. Based on the stipulation of the parties, the

 4 Court finds that the failure to grant the requested continuance would deny defense counsel reasonable

 5 time necessary for effective preparation, taking into account the exercise of due diligence. The Court

 6 specifically finds that the ends of justice served by the granting of such continuance outweigh the

 7 interests of the public and that the time from May 19, 2017 to June 30, 2017 inclusive shall be excluded

 8 from computation of time within which the trial of the case of Julius Caubat must be commenced under

 9 the Speedy Trial Act, pursuant to Local Code T4 (time for defense counsel to prepare and continuity of
10 counsel pursuant to 18 U.S.C.§ 3161(h)(7)(A) and (B)(iv)).

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     Dated: May 17, 2017
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      STIPULATION AND [PROPOSED] ORDER CONTINUING
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30    STATUS CONFERENCE, AND EXCLUDING TIME…
